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                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

                              STATUS CONFERENCE

In Re: Pork Antitrust Litigation            COURT MINUTES
                                            BEFORE: John R. Tunheim
                                            U.S. District Judge

                                            John F. Docherty
                                            Magistrate Judge

                                            Case No:            18-1776 JRT/JFD
                                            Date:               October 17, 2022
                                            Deputy:             Heather Arent
                                            Court Reporter:      Kristine Mousseau
                                            Time Commenced:      10:07 a.m.
                                            Time Concluded:      11:02 p.m.
                                            Time in Court:       55 Minutes
Hearing on: Status Conference

  I. Discovery Matters
     The parties indicated that they intend to conduct many depositions after the
     October 31, 2022 fact discovery closure. The Court indicated that it would allow
     an extension of time to conduct those depositions. The parties also stated that
     an extension may be necessary to respond to certain discovery requests. The
     parties agreed to meet and confer to determine what extension, if any, is
     necessary.

     The Court acknowledged that there are two pending discovery motions: a motion
     to compel and a motion for a letter rogatory. The Court will enter an order on
     those matters in due course.

  II. Consolidated DAP Complaint
      The Direct Action Plaintiffs (DAPs) requested an extension to file their
      Consolidated Complaint. The Court granted an extension until December 5,
      2022. The Court does not anticipate the Consolidated Complaint will raise any
      new substantive claims or matters. The Consolidated Complaint may, however,
      incorporate facts that the DAPs learned during discovery.
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   The Court also confirmed that the Commonwealth of Puerto Rico need not sign
   on to the Consolidated Complaint because the Defendants already responded to
   its complaint.

III. Class Certification Hearing
     The Class Plaintiffs and the Defendants both proposed when the class
     certification hearing and potential corresponding evidentiary hearing should
     occur. Both parties argued in favor of their preferred timelines.

   The Court indicated that it will hold the class certification hearing on Tuesday,
   January 31st, 2023 at 10:00 a.m. It does not anticipate that the hearing will
   address evidentiary issues, but the Defendants may file a letter soon with the
   Court if they believe an evidentiary hearing is necessary and appropriate. The
   briefing deadlines will remain the same.

IV. Leadership Structure
   The Class Plaintiffs argue that their current leadership is sufficient. The Court will
   take the parties’ arguments under advisement and issue an order on case
   leadership in due course. The Court indicated that the Commonwealth of Puerto
   Rico will have representation in any leadership structure.

V. Future Status Conference
   The Court indicated that it will hold monthly status meetings going forward, likely
   conducted via videoconference. The parties should submit a joint agenda at least
   three days before each status conference. The Defendant’s proposed several
   dates, but their proposed January meeting date of Monday, January 16, 2023
   should be altered because it is a holiday.

   The November status conference is set for November 17, 2022 at 10:00 a.m. via
   video conference and will address harmonizing pretrial schedules and setting
   deadlines for expert discovery and summary judgment motions. The parties
   should meet and propose a schedule prior to the November status conference.

VI. Smithfield and CIIPP Settlement Final Approval and Motion for Attorneys’ Fees
    The Commercial and Institutional Indirect Purchaser Plaintiffs argued in favor of
    the settlement with Defendant Smithfield. They described the notice process
    that was used to inform the settlement class and how they calculated their
    attorneys’ fees. The Court indicated that it intends to grant both the motion for
    final approval and the motion for attorneys’ fees.
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                                                s/Heather Arent_______
                                                Courtroom Deputy Clerk
